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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Carolyn Barker,                           Docket 3:18-cv-01299-RPC
      Plaintiff

v.

Comenity Bank,
    Defendant                             FILED ELECTRONICALLY

                  NOTICE OF VOLUNTARY DISMISSAL

     Please dismiss this action with prejudice and without cost to either party.

                                            s/ Brett Freeman
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